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                                                                  EXHIBIT 2




                                                   EXHIBIT 2
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                                         Special Power of Attorney
                                  (Negotiations of Timeshare Interest/Debt)

                        NOTICE TO PERSON EXECUTING DURABLE POWER OF ATTORNEY
               A DURABLE POWER OF ATTORNEY IS AN IMPORTANT LEGAL DOCUMENT. BY
               SIGNING THE DURABLE POWER OF ATTORNEY, YOU ARE AUTHORIZING ANOTHER
               PERSON TO ACT FOR YOU, THE PRINCIPAL. BEFORE YOU SIGN THIS DURAUL.E
               POWER OF ATTORNEY, YOU SHOULD KNOW THESE IMPORTANT FACTS:
                  •   YOUR AGENT (ATTORNEY-IN-FACT) HAS NO DUTY TO ACT UNLESS YOU AND
                      YOUR AGENT AGREE OTHERWISE IN WRITING.
                  •   THIS DOCUMENT GIVES YOUR AGENT THE POWERS TO .MANAGE, DISPOSE OF,
                      SELL, AND CONVEY YOUR REAL AND PERSONAL PROPERTY, AND TO USE
                      YOUR PROPERTY AS SECURITY IF YOUR AGENT BORROWS MONEY ON YOUR
                      BEHALF. THIS DOCUMENT DOES NOT GIVE YOlJR AGENT THE POWER TO
                      ACCEPT OR RECEIVE ANY OF YOlJR PROP.EH.TY, lN TRUST OR OTHERWISE, AS
                      A GffT, UNLESS YOlJ SPEClFJCALLY AUTHORIZE THE AGENT TO ACCEPT OR
                      RECKJVE A GIFT.
                 •    YOUR AGENT WILL HAVE THE RIGHT TO RECEIVE REASONABLE PAYMENT
                      FOR SERVICES PROVnmn UNlJER THIS DURABLE POWER OF ATTORNEY
                      UNLESS YOU PROVIDE ()THERWISE IN THIS POWER OF ATTORNEY.
                 •    THE POWERS YOU GIVE YOUR AGENT WILL CONTINUE TO EXIST FOR YOUR
                      ENTIRE LIFETIME, UNLESS YOU STATE THAT THE DURABLE POWER OF
                      ATTORNEY WILL LAST FOR A SHORTER PERIOD OF TIME OR UNLESS YOU
                      OTHERWISE TERMINATE THE DURABLE POWER OF ATTORNEY. THE POWERS
                      YOU GIVE YOUR AGENT IN THIS DURABLE POWER OF ATTORNEY WILL
                      CONTINUE TO EXIST EVEN lF YOU CAN NO LONGER MAKE YOUR OWN
                      DEClSlONS RESPECTING THE MANAGEMENT OF YOUR PROPERTY.
                 •    YOU CAN AMJ<:ND OR CHANGE THIS DURABLE POWER OF ATTORNEY ONLY
                      BY EXECUTING A NEW DUR.ABLE POWER OF ATTORNEY OR BY EXECUTING
                      AN AMENDMENT THROUGH THE SAME FORMALITlES AS AN ORlGlNAL. YOU
                      HAVE THE RIGHT TO REVOKE OR TERMINATE THlS DURABLE POWER OF
                      ATTORNEY AT ANY TIME, SO LONG AS YOU ARE COMPETENT.
                 •    THIS DURABLE POWER OF ATTORNEY MUST BE DATED AND MUST BE
                      ACKNOWLEDGED BEFORE A NOTARY PUBLIC OR SIGNED BY TWO
                      WITNESSES. IF lT IS SIGNED BY TWO WITNESSES, THEY !\JUST WITNESS
                      EITHER (l) THE SIGNING OF THE POWER OF ATTORNEY OR (2) THE
                      PRINCIPAL'S SIGNING OR ACKNOWLEDGMENT OF' HIS OR HER SIGNATURE. A
                      DURABLE POWER OJ<' ATTORNEY THAT MAY AFFECT REAL PROPERTY
                      SHOULD BE ACKNOWLEDGED BEFORE A NOTARY PUBLIC SO THAT lT MA V
                      EASILY BE RECORDED.
               YOU SHOULD READ THIS DURABLE POWER OF ATTORNEY CAREFULLY. WHEN
               EFFECTIVE, THIS DURABLE POWER OF ATTORNEY WILL GIVE YOUR AGENT THE
               RIGHT TO DEAL WITH PROPERTY THAT YOU NOW HAVE OR MIGHT ACQUIRE IN
               THE FUTURE. TUE DURABLE POWER OF ATTORNEY IS IMPORTANT TO YOU. lF YOU
               DO NOT UNDERSTAND THE DURABLE POWER OF ATTORNEY, OR ANY PROVISION OF
               lT, THEN YOU SHOULD OBTAIN THE ASSISTANCE OF AN ATTORNEY OR OTHER
               QUALIFIED PERSON.



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               I/We,        Abigail Messmer              , hereby appoint ReedHein &
               Associates, LLC and its employees, or any one of them, as my/our agents
               (collectively "Agents") in connection with the negotiation and resolution of my/our
               timeshare interest as described below.

               Timeshare/resort:
               Contract Number: 6551689
               Points [if applicable/known]: 145,000
               Weeks [if applicable/known]:

               My Agents' powers shall be limited to the following as they specifically and solely
               relate to the above-referenced timeshare interest:
                  l. Hire and fire attorneys on my behalf to aid in the negotiation and legal work
                     necessary to settle any claim related to my timeshare interest, including, but
                     not limited to, those made against me or asserted on my behalf with any
                     secured creditor;
                  2. Pay such attorneys out of fees paid to Agents;
                  3. Direct any and all legal or other steps necessary to obtain a settlement of any
                     claim, whether made against me or asserted on my behalf with any secured
                     creditor, or such steps necessary to otherwise obtain a release from the
                     obligations of the timeshare interest;
                  4. Have full and unfettered access to the legal files prepared and maintained on
                     my behalf by any attorneys hired by Agent;
                  5, Direct and/or participate in the negotiation of any binding settlement
                     agreement on my behalt: including, but not limited to, with any secured
                     creditor; and
                  6. Prepare and file documents incident or pertinent to the above.

               This Special Power of Attorney shall be construed narrowly and the listing of
               specific powers is intended to limit and restrict the powers granted in this Special
               Power of Attorney.
               My Agents shall not be liable for any loss that results from a judgment error that
               was made in good faith in execution of the above powers. This document expires
               by its terms twenty-four (24) months after signing unless revoked earlier in
               writing.


                                       [This space intentionally left blank]



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               This Power of Attorney shall become effective immediately and shall not be
               affected by my disability, incapacity or lack of mental competence, except as may
               be provided otherwise by an application of state statute. This is a Durable Power of
               Attorney.
               Tl:                  F ATTORNEY MAY BE REVOKED BY ME AT ANY TIME
               B                     WRITTEN NOTICE TO MY AGENTS.




               - - - - - ' - - - - - - - - - - - - - - Date: - - - - - - -
               0 wner of timeshare

               Notarization
               Before me on this~ day of ~ ' \ ,                    , 20 ,"'t;;:,, personally appeared the aforesaid
               declarant ~k)'f.\ ~ ~~, to me known to be the person described in and who
               executed the foregoing instrument and acknowledged that he/she executed the same as his/her
               free act and deed. I certify under penalty of pe1jury under the laws of the State of
               ~ , ~ ~ * ' __ and the United States that the foregoing paragraph is true and co1Tect. IN
               WITNESS WHEREOF, I have hereunto set my hand and affixed my official seal in the County
               of ~ y s:£y£•+4:9 , St ate of Ct;,,-....__\.~.. t;;., on the day and year above written .
               ~~~N>~~c_____                                            'C:.\\~.....,.µ.CJ""--h"......_F',_;__ _ _ _ __
               Notary Public                                          Commission :kxpiration Date


                                                              ANTHONY MONTERO
                                                               ·• COMMi# 2119757 .··.• ·• . ~
                                                            NOTARY PUBLIC • CALIFORNIA :;
                                                             SAN FRANCISCO COUNTY '"""
                                                            My Comm. ~Aug. 13, 2019
               Notarization
               Before me on this _ _ day of _ _ _ _ _ _, 20 ___ , personally appeared the aforesaid
               declarant _ _ _ _ _ _ _ _ __, to me known to be the person described in and who
               executed the foregoing instrument and acknowledged that he/she executed the same as his/her
               free act and deed. I certify under penalty of perjury under the laws of the State of
               _ _ _ _ _ _ and the United States that the foregoing paragraph is true and correct. IN
               WITNESS WHEREOF, I have hereunto set my hand and affixed my official seal in the County
               of _ _ _ _ _ _~ State of _ _ _ _ _ _ _ on the day and year above written.


               Notary Public                                          Commission Expiration Date




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                                                     ACKNOWLEDGMENT


                 A notary public or other officer completing this
                 certificate verifies only the identity of the individual
                 who signed the document to which this certificate is
                 attached, and not the truthfulness, accuracy, or
                 validity of that document.
               State of California
               County of           SAN FRANCISCO

               On    APRIL 3, 2018                      before me ANTHONY MONTERO, NOTARY PUBLIC
                                                                    '--------- ---------
                                                                    (insert name and title of the officer)
               personally appeared _A_B_I_G_A_I_L_M_A_R_IE_M_E_S_S_M_E_R_*_*_*_*_*_**_*_*_*_*_·*_*_*_*_*_*_*_*_*_*_**_*_*_*_*_*___
               who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are
               subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
               his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
               person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

               I certify under PENAL TY OF PERJURY under the laws of the State of California that the foregoing
               paragraph is true and correct.


           WITNESS my hand and official seal.                                                         ANTHONY MONTERO
                                                                                                          COMM. #2119757          OO
                                                                                                    NOTARY PUBLIC· CALIFORNIA :;
                                                                                                     SAN FRANCISCO COUNTY i,,.<
                                                                                                    My Comm. ExpirooAug. 13, 2019
                                                                          (Seal)




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                  NOTICE TO PERSON ACCEPTING THE APPOINTMENT AS ATTORNEY-IN-FACT
               BY ACTING OR AGREEING TO ACT AS THE AGENT (ATTORNEY-IN-FACT) UNDKR THIS
               POWER OF ATTORNEY, YOU ASSUME THE FIDUCIARY AND OTHER LEGAL
               RESPONSIBILITIES OF AN AGENT, THESE RESPONSIBILITIES INCLUDE:
                 l.   THE LEGAL DUTY TO ACT SOLELY IN THE INTEREST OF THE PRINCIPAL AND
                      TO Avom CONFLICTS OF INTEREST.
                 2. THE LEGAL DUTY TO KEEP THE PRINC1PAL'S PROPERTY SEPARATE AND
                    DISTINCT FROM ANY OTHER PROPERTY OWNED OR CONTROLLED BY YOU.
               YOU MAY NOT TRANSFER THE PRINClPAL'S PROPERTY TO YOURSELF WITHOUT
               FULL AND ADEQUATE CONSIDERATION OR ACCEPT A GIFT OF THE PRINCIPAL'S
               PROPERTY UNLESS THIS POWER OF ATTORNEY SPECIFICALLY AUTHORIZES YOU
               TO TRANSFER PROPERTY TO YOUR.SELF OR ACCEPT A GIFT OF THE PRINCIPAVS
               PROPERTY. IF YOU TRANSFER THE PRINCIPAL'S PROPERTY TO YOURSELF
               WITHOUT SPECIFIC AUTHORIZATION IN THE POWER OF ATTORNEY, YOU MAY BE
               PROSECUTED FOR FRAUD AND/OR EMBEZZLEMENT. IF THE PRINCIPAL IS 65 YEARS
               OF AGE OR OLDER AT THE TIME THAT THE PROPERTY JS TRANSFERRED TO YOU
               WITHOUT AUTHORITY, YOU MAY ALSO BE PROSECUTED FOR ELDER ABUSE UNDER
               CALIFORNIA PENAL CODE SECTION 368 OR OTHER SIMILAR STATUTES. IN
               ADDITION TO CRIMINAL PROSECUTION, YOU MAY ALSO BE smrn IN CIVIL COURT.
               l HAVE READ THE FOREGOING NOTICE AND I UNDERSTAND THE LEGAL AND
               FHHJClARY DUTIES THAT I ASSUME BY ACTING OR AGREEING TO ACT AS THE
               AGENT (ATTORNEY-IN-FACT) UNDER THE TERMS OF THIS POWER OF ATTORNEY.
                                                     REEDHEIN & ASSOCIATES, LLC

               DATE: _ _ _ _ _ _ _ __                BY: _ _ _ _ _ _ _ _ _ _ __
                                                           (SIGNATURE OF AGENT)


                                                               (PRINT NAME)




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